                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                       )
                                                )   CASE NO. DNCW3:09CR211-03
               v.                               )   (Financial Litigation Unit)
                                                )
MITCHELL KEITH KLEINMAN.                        )

                                   WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and TD Ameritrade:

       A judgment was entered on January 12, 2011, in the United States District Court for the

Western District of North Carolina in favor of the United States of America and against Defendant,

Mitchell Keith Kleinman, whose last known address is XXXXXXXXXXXXXXX Newport Beach,

California 92660, in the sum of $2,202,079.40. The balance on the account as of October 2, 2012

is $2,048,480.21.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and TD Ameritrade is commanded to turn over property in which Defendant, Mitchell Keith

Kleinman, Social Security Number XXX-XX-9009, has a substantial non-exempt interest, said

property being funds located in any and all accounts held, individually or jointly, in the name of

Mitchell Keith Kleinman including, but not limited to, Individual Retirement Account number

XXX-XXX126 located at the following address: TD Ameritrade, 4211 South 102nd Street, Omaha,

Nebraska 68127, ATTN: Regulatory Compliance/Legal.

                                                Signed: October 4, 2012




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